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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

REBECCA NAPIER, individually and on behalf
of similarly situated persons,

                     Plaintiff,
                                                       Case No. ________
       v.
                                                       Jury Demanded
RIV PIZZA LLC d/b/a DOMINO’S and
RUTBEL VENTURA,

                    Defendants.


      COMPLAINT FOR VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

        Plaintiff Rebecca Napier (“Plaintiff”), individually and on behalf of all other similarly

 situated delivery drivers, brings this Complaint against Defendants Riv Pizza LLC and Rutbel

 Ventura (collectively, “Defendants”), and alleges as follows:

        1. Defendants operate numerous Domino’s Pizza franchise stores. Defendants employ

 delivery drivers who use their own automobiles to deliver pizza and other food items to their

 customers. However, instead of reimbursing delivery drivers for the reasonably approximate

 costs of the business use of their vehicles, Defendants use a flawed method to determine

 reimbursement rates that provides such an unreasonably low rate beneath any reasonable

 approximation of the expenses they incur that the drivers’ unreimbursed expenses cause their

 wages to fall below the federal minimum wage during some or all workweeks.

        2. Plaintiff brings this lawsuit as a collective action under the Fair Labor Standards Act

 (“FLSA”), 29 U.S.C. § 201 et seq. to recover unpaid minimum wages and overtime hours owed
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to Plaintiff and similarly situated delivery drivers employed by Defendants at its Domino’s

stores.

                                      Jurisdiction and Venue

          3. The FLSA authorizes court actions by private parties to recover damages for violation

of its wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on 29 U.S.C. §

216(b) and 28 U.S.C. § 1331 (federal question).

          4. Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff resides in

this District, Defendants employed Plaintiff in this District, Defendants operates Domino’s

franchise stores in this District, and a substantial part of the events giving rise to the claim herein

occurred in this District.

                                               Parties

          5. Defendant, Riv Pizza LLC d/b/a Domino’s Pizza is a Georgia limited liability

company maintaining its principal place of business at 3999 Austell Road Unit 809, Austell,

Georgia 30106. Riv Pizza LLC may be served via its registered agent, Rutbel Ventura, at 3999

Austell Road, Austell, Georgia 30106, or wherever he may be found.

          6. Defendant, Rutbel Ventura is individually liable because, during the relevant times, he

was an owner of substantial interests in defendant, served as officer of the entity, and held

managerial responsibilities and substantial control over terms and conditions of drivers’ work as

they held the power to hire and fire, supervised and controlled work schedules and/or conditions

of employment, determined rates and methods of pay and/or expense reimbursements, and

maintained employment records and/or held control over employment records. Defendant Rutbel

Ventura may be served at 3999 Austell Road, Austell, Georgia 30106, or wherever he may be

found.




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         7. Plaintiff was employed by Defendants from approximately May 2020 to January

2021 as a delivery driver at Defendants’ Domino’s store located at 2483 Cedarcrest Road Unit

205, Acworth, Georgia 30101, and within this District. Plaintiff’s consent to pursue this claim

under the FLSA is attached to this Original Complaint as “Exhibit 1.”

                                           General Allegations

                                           Defendants’ Business

         8. Defendants own and operate numerous Domino’s franchise stores including stores

within this District and this Division.

         9. Rutbel Ventura is an owner, officer and director of corporate Defendant Riv Pizza

LLC.

         10. In this capacity, Mr. Ventura put the pay scheme at issue in place, has overseen and

enforced Defendants’ pay practices, and is, therefore, individually liable for the violations at

issue.

         11. Defendants’ Domino’s stores employ delivery drivers who all have the same primary

job duty: to deliver pizzas and other food items to customers’ homes or workplaces.

                     Defendants’ Flawed Automobile Reimbursement Policy

         12. Defendants require their delivery drivers to maintain and pay for safe, legally-

operable, and insured automobiles when delivering pizza and other food items.

         13. Defendants’ delivery drivers incur costs for gasoline, vehicle parts and fluids, repair

and maintenance services, insurance, depreciation, and other expenses (“automobile expenses”)

while delivering pizza and other food items for the primary benefit of Defendants.

         14. Defendants’ delivery driver reimbursement policy reimburses drivers on a per-

delivery basis, but the per-delivery reimbursement equates to below the IRS business mileage




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reimbursement rate or any other reasonable approximation of the cost to own and operate a

motor vehicle. This policy applies to all of Defendants’ delivery drivers.

       15. The result of Defendants’ delivery driver reimbursement policy is a reimbursement of

much less than a reasonable approximation of its drivers’ automobile expenses.

       16. During the applicable FLSA limitations period, the IRS business mileage

reimbursement rate ranged between $.545 and $.58 per mile. Likewise, reputable companies that

study the cost of owning and operating a motor vehicle and/or reasonable reimbursement rates,

including the AAA, have determined that the average cost of owning and operating a vehicle

ranged between $.571 and $.608 per mile during the same period for drivers who drive 15,000

miles per year. These figures represent a reasonable approximation of the average cost of owning

and operating a vehicle for use in delivering pizzas.

       17. However, the driving conditions associated with the pizza delivery business cause

even more frequent maintenance costs, higher costs due to repairs associated with driving, and

more rapid depreciation from driving as much as, and in the manner of, a delivery driver.

Defendants’ delivery drivers further experience lower gas mileage and higher repair costs than

the average driver used to determine the average cost of owning and operating a vehicle

described above due to the nature of the delivery business, including frequent starting and

stopping of the engine, frequent braking, short routes as opposed to highway driving, and driving

under time pressures.

       18. Defendants’ reimbursement policy does not reimburse delivery drivers for even their

ongoing out-of-pocket expenses, much less other costs they incur to own and operate their

vehicle, and thus Defendants uniformly fail to reimburse its delivery drivers at any reasonable

approximation of the cost of owning and operating their vehicles for Defendants’ benefit.




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       19. Defendants’ systematic failure to adequately reimburse automobile expenses

constitutes a “kickback” to Defendants such that the hourly wages it pays to Plaintiff and

Defendants’ other delivery drivers are not paid free and clear of all outstanding obligations to

Defendants.

       20. Defendants fail to reasonably approximate the amount of their drivers’ automobile

expenses to such an extent that its drivers’ net wages are diminished beneath the federal

minimum wage requirements.

       21. In sum, Defendants’ reimbursement policy and methodology fail to reflect the

realities of delivery drivers’ automobile expenses.

         Defendants’ Failure to Reasonably Reimburse Automobile Expenses Causes
                                 Minimum Wage Violations

       22. Regardless of the precise amount of the per-delivery reimbursement at any given

point in time, Defendants’ reimbursement formula has resulted in an unreasonable

underestimation of delivery drivers’ automobile expenses throughout the recovery period,

causing systematic violations of the federal minimum wage.

       23. Plaintiff was paid just $2.50 per hour while making deliveries for Defendants,

including a tip credit applicable to the time she performed deliveries.

       24. The federal minimum wage has been $7.25 per hour since July 24, 2009.

       25. During the time Plaintiff worked for Defendants as a delivery driver, she was

reimbursed just $.80 per delivery and drove an average of 10 or more miles per delivery. This

means plaintiff was getting paid approximately $.08 per mile ($.80 divided by 10 miles

respectively).

       26. During the relevant time period, the IRS business mileage reimbursement rate

ranged between $.545 and $.58 per mile, which reasonably approximated the automobile



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expenses incurred delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-

Rates. Using the lowest IRS rate per mile driven in effect during that period as a reasonable

approximation of Plaintiff’s automobile expenses, every mile driven on the job decreased his

net wages by at least $.47 ($.545 - $.08) per mile.

       27. During employment by Defendants, Plaintiff regularly made 3 or more deliveries per

hour. Thus using even a conservative under-estimate of Plaintiff’s actual expenses and damages,

every hour on the job decreased Plaintiff’s net wages by at least $14.10 ($.47 x 3 deliveries/hour

x 10 miles/delivery), resulting in a net hourly wage well below the federal minimum wage.

       28. All of Defendants’ delivery drivers had similar experiences to those of Plaintiff. They

were subject to the same reimbursement policy; received similar reimbursements; incurred

similar automobile expenses; completed deliveries of similar distances and at similar

frequencies; and were paid at or near the federal minimum wage before deducting unreimbursed

business expenses.

       29. Because Defendants paid their drivers a gross hourly wage below the federal

minimum wage, and because the delivery drivers incurred unreimbursed automobile expenses,

the delivery drivers “kicked back” to Defendants an amount sufficient to cause minimum wage

violations.

       30. While the amount of Defendants’ actual reimbursements per delivery may vary over

time, Defendants are relying on the same flawed policy and methodology with respect to all

delivery drivers at all of their other Domino’s stores. Thus, although reimbursement amounts

may differ somewhat by time or region, the amounts of under-reimbursements relative to

automobile costs incurred are relatively consistent between time and region.




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       31. Defendants’ low reimbursement rates were a frequent complaint of Defendants’

delivery drivers, which resulted in discussions with management, yet Defendants continued to

reimburse at a rate much less than any reasonable approximation of delivery drivers’ automobile

expenses. In fact, there were times that Defendants would not pay Plaintiff and other Drivers

anything for mileage or would deduct pay from their mileage amounts.

       32. The net effect of Defendants’ flawed reimbursement policy is that Defendants have

willfully failed to pay the federal minimum wage to their delivery drivers. Defendants thereby

enjoys ill-gained profits at the expense of its employees.

                                  Collective Action Allegations

       33. Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of similarly

situated delivery drivers pursuant to 29 U.S.C. § 216(b).

       34. The FLSA claims may be pursued by those who opt-in to this case pursuant to 29

U.S.C. § 216(b).

       35. Plaintiff, individually and on behalf of other similarly situated employees, seeks relief

on a collective basis challenging Defendants’ practice of failing to pay employees federal

minimum wage. The number and identity of other plaintiffs yet to opt-in may be ascertained

from Defendants’ records, and potential class members may be notified of the pendency of this

action via mail and electronic means.

       36. Plaintiff and all of Defendants’ delivery drivers are similarly situated in that:

               a. They have worked as delivery drivers for Defendants delivering pizza and

               other food items to Defendants’ customers;

               b. They have delivered pizza and food items using automobiles not owned or

               maintained by Defendants;




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              c. Defendants required them to maintain these automobiles in a safe, legally-

              operable, and insured condition;

              d. They incurred costs for automobile expenses while delivering pizzas and food

              items for the primary benefit of Defendants;

              e. They were subject to similar driving conditions, automobile expenses,

              delivery distances, and delivery frequencies;

              f. They were subject to the same pay policies and practices of Defendants;

              g. They were subject to the same delivery driver reimbursement policy that

              under-estimates automobile expenses per mile, and thereby systematically

              deprived of reasonably approximate reimbursements, resulting in wages below the

              federal minimum wage in some or all workweeks;

              h. They were reimbursed similar set amounts of automobile expenses per

              delivery; and

              i. They were paid at or near the federal minimum wage before deducting

              unreimbursed business expenses.

                Count I: Violation of the Fair Labor Standards Act of 1938

       47. Plaintiff reasserts and re-alleges the allegations set forth above.

       48. The FLSA regulates, among other things, the payment of minimum wage by

employers whose employees are engaged in interstate commerce, or engaged in the production of

goods for commerce, or employed in an enterprise engaged in commerce or in the production of

goods for commerce. 29 U.S.C. §206(a).

       49. Defendants are subject to the FLSA’s minimum wage requirements because it is an

enterprise engaged in interstate commerce, and its employees are engaged in commerce.




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       50. At all relevant times herein, Plaintiff and all other similarly situated delivery drivers

have been entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. §§

201, et seq.

       51. Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories of

employees from federal minimum wage obligations. None of the FLSA exemptions apply to

Plaintiff or other similarly situated delivery drivers.

       52. Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees have been

entitled to be compensated at a rate of at least $7.25 per hour since July 24, 2009.

       53. As alleged herein, Defendants have reimbursed delivery drivers less than the

reasonably approximate amount of their automobile expenses to such an extent that it diminishes

these employees’ wages beneath the federal minimum wage.

       54. Defendants knew or should have known that their pay and reimbursement policies,

practices and methodology result in failure to compensate delivery drivers at the federal

minimum wage.

       55. Defendants, pursuant to their policy and practice, violated the FLSA by refusing and

failing to pay federal minimum wage to Plaintiff and other similarly situated employees.

       56. Plaintiff and all similarly situated delivery drivers are victims of a uniform and

employer-based compensation and reimbursement policy. This uniform policy, in violation of

the FLSA, has been applied, and continues to be applied, to all delivery driver employees in

Defendants’ stores.

       57. Plaintiff and all similarly situated employees are entitled to damages equal to the

minimum wage minus actual wages received after deducting reasonably approximated

automobile expenses within three years from the date each Plaintiff joins this case, plus periods




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of equitable tolling, because Defendants acted willfully and knew, or showed reckless disregard

for, whether its conduct was unlawful.

       58. Defendants have acted neither in good faith nor with reasonable grounds to believe

that its actions and omissions were not a violation of the FLSA, and as a result, Plaintiff and

other similarly situated employees are entitled to recover an award of liquidated damages in an

amount equal to the amount of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively,

should the Court find Defendants is not liable for liquidated damages, Plaintiff and all similarly

situated employees are entitled to an award of prejudgment interest at the applicable legal rate.

       59. As a result of the aforesaid willful violations of the FLSA’s minimum wage

provisions, minimum wage compensation has been unlawfully withheld by Defendants from

Plaintiff and all similarly situated employees. Accordingly, Defendants are liable under 29

U.S.C. § 216(b), together with an additional amount as liquidated damages, pre-judgment and

post-judgment interest, reasonable attorneys’ fees, and costs of this action.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and the Class demand judgment against Defendants and pray

for: (1) compensatory damages; (2) liquidated damages, (3) costs of litigation and attorney’s fees

as provided by law; (4) pre-judgment and post-judgment interest as provided by law; and (5)

such other relief as the Court deems fair and equitable.

                                      Demand for Jury Trial

       Plaintiff hereby requests a trial by jury of all issues triable by jury.




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                                            Respectfully submitted,


                                            /s/ C. Ryan Morgan
                                            C. RYAN MORGAN, ESQ.
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                                            jay@foresterhaynie.com
                                            *pro hac vice forthcoming


                                 CERTIFICATE OF SERVICE

       This is the Original Complaint. Service of this Complaint will be made on Defendants

with summons to be issued by the clerk according to the Federal Rules of Civil Procedure.

                                            /s/ C. Ryan Morgan
                                            C. RYAN MORGAN, ESQ.




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                  NOTICE OF CONSENT TO BE A PARTY PLAINTIFF

                       Fair Labor Standards Act of 1938, 29 U.S.C. 216(b)

       I consent to be a party plaintiff in the case in which this consent is filed. By joining this
lawsuit, I designate the named plaintiff(s) in the case in which this consent is filed and his/her
attorneys (and other persons those individuals designate as necessary) as my representatives to
make all decisions on my behalf, to the extent permitted by law, concerning the method and
manner of conducting the case including settlement, the entering of an agreement with Plaintiff’s
counsel regarding payment of attorneys’ fees and court costs, and all other matters pertaining to
this lawsuit. I further acknowledge that I intend for this consent to be filed in order to recover
any unpaid wages owed to me by my current/former employer whether this consent is filed in
this action or in any private cause of action that may be filed on my behalf for such recovery at a
later time. For purposes of pursuing my unpaid wage claims I choose to be represented by
Forester Haynie PLLC and other attorneys with whom they may associate. I hereby authorize
communications via phone, email, mail, or text from Forester Haynie PLLC so that I may be
contacted or updated regarding the case as appropriate.

     Jun 21, 2021                                      Rebecca Napier
Date:__________________________              Signature__________________________________
                                                      Rebecca Napier (Jun 21, 2021 14:29 EDT)



                                                             Rebecca Napier
                                             Printed Name: _____________________________




Consent Form
